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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


NATHAN GAUDREAU,

       Plaintiff,

v.                                                          CASE NO. 8:16-cv-18-T-26JSS

WELLS FARGO BANK, N.A.,

       Defendant.
                                           /


                                         ORDER

       UPON DUE AND CAREFUL CONSIDERATION of the procedural history of

this case, and pursuant to the parties’ Stipulation Regarding Arbitration filed at docket 13,

it is ORDERED AND ADJUDGED as follows:

       1)      The parties shall submit to binding non-judicial arbitration.

       2)      The arbitration shall be administered by the American Arbitration

Association.

       3)      Subject to any change in applicable law, each and all of Plaintiff’s claims

shall be and hereby are subject to individual arbitration pursuant to the terms of the

Personal Line of Credit Agreement.

       4)      This action shall be and is hereby dismissed, in its entirety, without

prejudice.
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      5)    The clerk is directed to CLOSE this case.

      DONE AND ORDERED at Tampa, Florida, on March 14, 2016.



                                  s/Richard A. Lazzara
                                RICHARD A. LAZZARA
                                UNITED STATES DISTRICT JUDGE


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Counsel of Record




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